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                                          Anduril, LLC
                           1242 Lincoln Rd, Grandview Heights, Ohio 43212


                                                                                      October 1, 2023

Kevin P. Sullivan
Salsbury Sullivan LLC
100 N. Charles Street, Suite 900
Baltimore, MD 21201

Re:      Kayla Brady, et al. v. Walmart, Inc., et al.
         Case No.: 8:21-cv-01412-CBD

Dear Mr. Sullivan,

I am submitting this addendum to my report dated 2/13/23. Since submitting my report, I have
reviewed the deposition transcripts listed in Attachment A. Upon review of these additional
sources of information, my opinions in this case are unchanged and are further supported by
these new sources of information.

1. The shotgun sale to Jacob Mace occurring at Walmart on November 15, 2019, should
   not have occurred.

      According to Mr. Nicholas Colucci, Walmart’s senior director for Alcohol, Tobacco, and
      Firearms compliance, several Walmart procedures and policies were in place at the time of
      Mr. Mace’s death that allowed sales associates to deny the sale of firearms to individuals for
      nondiscriminatory reasons including elevated risk of suicide. Mr. Colucci further indicated that,
      prior to the sale of any firearm at Walmart, sales associates are required to review a file
      containing 4473 forms from customers who were denied a firearm sale. Mr. Colucci indicated
      that Walmart also maintains a “block list” of individuals who are prohibited from purchasing
      firearms.

      Mr. Brennan Jones, a co-manager of the Walmart location that sold Mr. Mace the shotgun
      that he subsequently used to kill himself, acknowledged having a conversation with a Walmart
      employee about Mr. Mace’s heightened suicide risk and the possibility of placing Mr. Mace on
      a “black list” to restrict his ability to purchase a firearm from Walmart. Mr. Jones further
      reported talking with Ms. Beverly Smith at human resources about Mr. Mace, during which he
      reportedly asked about Walmart “black list” procedures. Mr. Jones also received a text
      message from a Walmart employee containing a screenshot of a text message conversation
      in which Mr. Mace disclosed an intention to purchase a firearm for the purposes of suicide.
      Although Mr. Jones reported he did not remember receiving the text message, he confirmed
      that one of the phone numbers that message was sent to was his cell phone.

2. The shotgun sale to Jacob Mace occurring at Walmart on November 15, 2019, led
   directly to Jacob Mace’s death by suicide soon thereafter.

      Had Walmart management taken steps to enact the Walmart procedures and policies
      described by Mr. Colucci that restrict or block the sale of firearm sales to people with elevated
      risk of suicide, Mr. Mace would not have been able to acquire the shotgun that he used to kill
      himself less than two hours later.



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These opinions are based on the information and materials available to me at the time of this
report. If new information becomes available, I reserve the right to change these opinions.

Please let me know if you have any questions about this addendum.

Regards,




Craig J. Bryan, PsyD, ABPP
Board-Certified Clinical Psychologist




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                                   Addendum Attachment A
                                     Materials Reviewed

Deposition transcripts from the following
       1. Joel Barr
       2. Kayla Brady
       3. Nicholas Colucci
       4. Timothy Crowley (4/10/23)
       5. Timothy Crowley (8/21/23)
       6. Brennan Jones
       7. Jennifer Krebs
       8. Mark Mace
       9. Nicole Mace
       10. Renard Mackell
       11. Beverley Madden
       12. Debra McCreary
       13. Christina O’Shea
       14. Ida Randall
       15. Nicole Sherwood




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                                          Attachment B
                                          Reference List

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